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 5   Attorneys for Plaintiff
     JAMES RUTHERFORD
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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
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10
          JAMES RUTHERFORD, an             Case No.: 8:20-cv-01612-JDE
11        individual,
12                                         Hon. John D. Early
          Plaintiff,
13                                         NOTICE OF VOLUNTARY
14        v.                               DISMISSAL WITH PREJUDICE
                                           PURSUANT TO FEDERAL RULE OF
15        GRACE VISION LLC, a              CIVIL PROCEDURE 41(a)(1)(A)(i)
16        California limited liability
          company; and DOES 1-10,          Complaint Filed: August 28, 2020
17        inclusive,                       Trial Date: None
18
          Defendants.
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                       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
 4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
 5   Each party shall bear his or its own costs and attorneys’ expenses.
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 7                                          Respectfully submitted,
 8
 9    DATED : October 2, 2020               MANNING LAW, APC

10                                          By: /s/ Joseph R. Manning, Jr.
                                              Joseph R. Manning, Jr.
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                                              Attorney for Plaintiff
12                                            James Rutherford
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
